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IN THE UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE, FLORIDA
LULA JONES, CNA,
Plaintiff, CASE NO:

YS.

LIFE CARE CENTERS OF AMERICA, INC,
d/b/a LIFE CARE CENTER JACKSONVILLE,

Defendant.
/

PLAINTIFF’S COMPLAINT AND DEMAND FOR JURY TRIAL

COMES NOW, Plaintiff LULA JONES, CNA (hereinafter referred to as “Jones” and
“Plaintiff’) by and though the undersigned attorney, files this Complaint and Demand For Jury
Trial against Defendant LIFE CARE CENTERS OF AMERICA, INC., d/b/a LIFE CARE
CENTER JACKSONVILLE (hereinafter referred to as “LCCJ” and “Defendant”) and as

grounds state as follows:

I. NATURE OF THIS ACTION
I. This action is brought by Jones to enforce the anti-retaliation provisions of the
Florida’s Whistleblower’s Protection Act, Florida Statute §448.102 (3) (“FWPA) and the anti-
retaliation provisions of 42. U.S.C. 1981, The Civil Rights Act of 1886 (“Section 1981”),
LCCJ’s elderly, infirmed nursing residents are being deprived of the proper medications, food

and nutrition needed to maintain good health, to live and survive in the ongoing COVID-19

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pandemic. LCCJ’s healthcare workers are being deprived of the proper PPE, approved
surgical/protective masks and they are being forced to work in an unsafe working environment
which exposes themselves and LCCJ’s nursing home residents to the dangers of COVID-19.
LCCJ engaged in discriminatory employment practices and unequal employee discipline
standards in order to accomplish its objective of “silencing” Jones and terminating her
employment.

I. PREAMBLE

2 Under Florida law, “Residents in assisted living facilities have the right to “live
in a safe and decent living environment, free from abuse and neglect, be treated with dignity and
have access to adequate and appropriate health care”. ---- Florida's Resident Bill of Rights.
Florida Statutes, Section 429.28, Healthcare workers in nursing homes and assisted living
environments are on the dangerous frontlines of the coronavirus pandemic (“COVID-
19”),

3. During the months of March 2020-April 2020, Life Care Center of America Inc.,
nursing homes across America have experienced hundreds of COVID-19 deaths of employees,
residents and Jed to hundreds of first responders and policeman being quarantined (See “Nursing
Home Linked To Dozens Of COVID-19 Deaths” ;www.npr.org/sections/coronavirus-live;
www, cn. com/2020/03/08/politics/coronavirus-washington-nursing-hame-life-care-center-kirkland;
“Kansas Health Officials Confirm Another Life Care Center Coronavirus Outbreak”

www. kansascity.com/news/coronavirus/article24 1625906.html).
4. As a matter of public policy, nurses and healthcare workers across America are
now demanding (emphasis supplied) more personal protective equipment (PPE) as they treat
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patients with COVID-19. On May 1, 2020, nurses with National Nurses United, a nationwide
union of registered nurses, protested at 139 hospitals across 13 states. The May |, 2020, CBS
News Report by Audrey McNamara, https://www.cbsnews.com/news/may-day-protest-nurses-ppe),
the CBS News Report “Entitled Nurses holding May Day protests nationwide demanding
PPE”, reports in relevant part:

“More than 60 nurses across the country have died of COVID-19,
according to NNU, The union says, however, that number is likely

higher due to a lack of testing.”

"Nurses signed up to care for their patients. They did not sign up to
sacrifice their lives on the front lines of the COVID-19

pandemic,"

“The union is calling on its employers and the government to
provide nurses and other health care workers with better
protection. The union has specifically cited a need for more gloves,
N95 respirator masks, which block at least 95 percent of very small
particles, as well as full-body coverings like Powered Air Purifying
Respirators, called PAPRs, and coveralls that incorporate head

coverings and shoe coverings.”

"Otherwise, hospitals will remain fomites for infection, say NNU
RNs, and nurses and health care workers will continue to get sick
and sidelined, die, and be unable to care for the next wave of

patients,"

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Il. JURISDICTION AND VENUE

5, Jones seeks compensatory damages, punitive damages, attorneys’ fees, costs,
expenses and such other relief in excess of this honorable Court's jurisdictional amount of
Seventy-Five Thousand Dollars ($75,000.00).

6. LCC] is a licensed foreign corporation organized under the laws of the State of
Tennessee. Life Care Centers of America Inc.’s corporate office is located at, 3570 Keith
Street, N.W, Cleveland, TN 37312-4309.

7, LCC] is authorized to engage in business, and interstate commerce in the State of
Florida, Duval County, FL; thus, this honorable Court has personal jurisdiction over LCC].

8. LCC] is recognized as an employer within the meaning of Chapter 448.102(3),
The Florida Whistleblower Protection Act (“FWPA”) and 42 U.S.C 1981, The Civil Rights Act
of 1886 (“Section 1981”).

9, Jones is a resident of Duval County, Florida and she was employed with LCCJ,
at all times relevant herein; thus, this honorable Court has personal jurisdiction over Jones.

10, Jones’ race is African American; thus, she is in a protected class that is
recognized under Section 1981.

ll. Subject matter jurisdiction of this Court is proper because one of Jones’ claims
as set forth herein, arise under federal law, specifically Section 1981.

12. This honorable Court is the proper venue for this action pursuant to 28 U. S. C.
§1391 (b)(1) and (b) (2) and Local Rule 1.02, United States District Court, Middle District of

Florida because this is the district and division in which Jones resides, and in which a

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substantial part of the unlawful acts, events and omissions giving rise to Jones’ claims, as
alleged herein occurred.

13. Pursuant to 28 U.S.C. $1367, this Court has supplemental, pendent jurisdiction
because Jones* common law claim(s) derive from the same nucleus of operative facts as Jones’
federal Section 1981 claim, as alleged herein,

14. Jones timely filed her claims that are alleged herein, pursuant to statute of
limitations provisions for her statutory causes of action, including the FWPA and Section 1981,

15. All administrative conditions precedent to the filing of this action, have been
timely filed, met and performed,

16. LCCIJ’s Registered Agent, according to the public record of the Florida's
Department of State, Division of Corporations is: Corporation Service Company, 1201 Hayes
Street, Tallahassee, Florida 32301.

IV. THE PARTIES

17. Life Care Centers of America, Inc., is recognized as one of the largest privately
held long-term elderly care companies in the United States.

18. Life Care Centers of America, Inc., has over 40,000 employees and it operates
over 200 skilled nursing, rehabilitation, Alzheimer’s and senior living facilities across 28 states.

19, Defendant LCCJ is an affiliated, subordinate nursing home company of Life
Care Centers of America, Inc.

20. _— Plaintiff Jones is a Certified Nursing Assistant (“CNA” - Certificate No: CNA

99425). Jones is an African American female.

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21. Jones was employed as a full-time CNA at the LCC] nursing home facility
located at, 4813 Lenoir Ave, Jacksonville, FL 32216 from December 12, 2018 until her
wrongful job termination that occurred on April 23, 2020,

VY. FACTUAL ALLEGATIONS

22. On December 18, 2018, Jones was hired by LCC]I to work as a full time Certified
Nursing Assistant (“CNA”) at the LCCJ nursing home facility located at 4813 Lenoir Ave,
Jacksonville, FL 32216.

25% During her tenure of employment with LCCJ, Jones received noteworthy
comments from LCC]Js residents and their families regarding her excellent caregiver skills.

24. Jones was regularly praised for her care, and compassion for LCCJ’s residents.
and she regularly received praises and Life Care Center of America’s “Shining Star Card
Program Reward” comments from her co-workers, residents, and family members, including
but not limited to;

A. “T would like to express my heartfelt thanks and gratitude for the
care that Lula Jones provides to my friend R.L, Lula is personable,
friendly, caring and efficient with R. and I have noticed R. does
better when Lula is taking care of her. She also makes R. smile
and laugh, which is a blessing for that I am thankful. Lula treats
patients like people not just a task to complete and we truly
appreciate her and her good work — Friend of Family”

—J.G, Friend of Resident

B. “So caring with Resident's daughter”.
-- Co-Worker
Cc. “Working extra hard and always helping others” ”.
-- Co-Worker
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D. “Excellence in patient care” ”. -- Co-Worker
BE. “Orienting new family to unit. Making them feel welcome”
-- Co-Worker
F, “Lula Jones ...have been very attentive to my mother’s needs while she

has been here and she should be commended for the care given and the
personal commitment given to her.”
—H.G. Son of Resident

G. “Doing a great job in dining room with three residents”.
-- Co-Worker
H. “The Best Team Player Always”. -- Co-Worker
I. “Lula was our CAN for several days and she did a fabulous job

helping her to transfer, potty, dress and still keep a good attitude.
Lula has the IT for working with patients, making them work hard
without badgering....she knows how to make the laugh”.

-- Family Member
J. Lula is a hardworking staff member her at life care. She is always on to
of patient care and consistently goes beyond for the patients she takes
care of”.
— Co-worker
K. “Lula Jones is an excellent CAN nurse.. She take care of my Godmother

all the time. She makes sure my Godmother is ok.. She makes my
Godmother eat. She make my Godmother dress and she make sure
Godmother is alright. My Godmother M.C. love her, Lula Jones is an
excellent CNA nurse.”

— Family Member

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MEDICATION ERRORS AND NEGLIGENT MEDICATION ADMINISTRATION
25. A common problem in hospitals and nursing homes is errors related to

medication administration, medical errors and patient neglect/abuse. Some of the various
types of medication, medical administration and negligence that can happen in a nursing home
environment, including:

A. Documenting the giving of the medication incorrectly:

B. Bailing to monitor the resident after giving the medication;

C. Giving residents medication at the wrong time or at the wrong rate;

D. Giving residents expired medications;

E. Giving residents too little medication or skipping a dose of
medication;

F. Using an incorrect med administration technique;
G. Following the wrong med pass routine;

H. Slicing or cutting pills that should not be split in halve nor crushed
that carry the instructions not to;

|. Giving residents the wrong form of medications or the wrong
dosages.

LCCJ’s MEDICATION ERRORS, PATIENT NEGLECT AND PATIENT ABUSE

 

26. Asa CNA healthcare worker, at all material times, Jones was legally, ethically
and professionally responsible to ensure that LCCJ’s nurses comply with resident physician
orders and established medical, treatment plans for LCCJ’s nursing home residents,

27. LCCJ’s elderly and infirmed residents need quality medical care and nutrition to

sustain themselves in the COVID-19 pandemic.
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28. In January 2020, Jones began noticing a decrease in LCC]’s delivery of patient
care, medical services and she witnessed repeated patient neglect issues.

29, Jones witnessed that LCCJ’s patient neglect, patient abuse, medication errors and
negligent medical administration, “sloppy nursing” and negligence of LCCI’s untrained,
incompetent direct caregivers.

30. — Jones also learned that certain direct care employees that were working for LCCJ
did not have CNA training certifications and incompetent nurses that were compromising the
lives, health and safety of residents.

31. Jones witnessed that many of LCCJ’s residents were becoming sicker, and
rapidly dying,

JONES OPPOSED LCCJ’S MEDICATION ERRORS AND
PATIENT NEGLECT/ABUSE

sm During the approximate time period February 2020 through April 23, 2020,
Jones repeatedly complained to LCCJ’s management officials SAL DeCARIA, NHA, LCC]’s
Executive Director, DARIN TONEY, LCCJ’s new/interim Executive Director, JACSELY
FLORES, RN, BSN, LCCJ’s Unit Manager, and her direct work supervisor CHERYL
McGRUDER, RN, BSN, LCCIJ’s Director of Nursing (“DON”), about LCCJ’s nurse/caregiver
medical errors, patient neglect and patient abuse including but not limited to the following

violations:

A. The prescribed medicines of residents being left in beds, on tables, and the
floors of resident bedrooms;

B. LCC]’s nurses not timely advising the residents’ treating physicians and
family members about resident (s) that were not taking all of their
prescribed medications and the residents that were not eating their meals;

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C. LCC]’s nurse(s) failure to ensure that residents completely swallowed or
otherwise took their prescribed medications as ordered by physicians;

D. LCCIJ’s nurse(s) falsification and inaccurate completion of Medicine
Administration/Med Pass inventory reports reporting the residents took
their medications — when in fact the resident’s medications were
repeatedly found on floors, tables and in beds;

E. Residents’ oxygen tanks (portable tanks) being unsecured, out of their
brackets/support system, off of residents and being left emitting oxygen in
the rooms of resident(s);

F. Residents sitting or lying in feces, urine, and soiled diapers for long
periods of time;

G. LCC's hiring and retention of incompetent nurses and non-certified

CNAs/direct caregivers that were compromising the health, safety and
lives of LCCI’s residents;

H. LCCJ failing to investigate residents and family members’ complaints that
related to nurses not timely treating and addressing the medical needs of
residents;

I. | LCCYJ’s facilities lack of clean towels which caused Jones and other CNAs

to have to resort to the washing/cleaning of residents with pillowcases,
sheets and linen;

J. LCC's critical CNA/staffing shortages that compromised LCCJ’s ability
to care for patient needs and staffing shortages that compromised the lives,
safety and health of residents.
JONES COMPLAINED TO LCCJ’S EXECUTIVE DIRECTOR
33. In late March 2020, Jones in “good faith” reported the patient safety, medical

error and patient neglect complaints alleged tn para 32 (A-J), infra to DARIN TONEY, LCC's

new/interim Executive Director (hereinafter referred to as the “Executive Director”),

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34. Jones met face-to-face with the Executive Director in his office and showed him
several photographs which proved LCCJ’s medication errors, patient neglect and the deplorable
living conditions of LCCIJ’s residents.

35. Jones also complained about LCCJ exposing LCCIJ’s employees, residents and
their family members to COVID-19 because of LCCI’s poor planning, training and preparation.

36. After the Executive Director had reviewed the telling photographs, he stated to
Jones that he “knew that LCCJ has serious problems” in its delivery of medical services and
care to residents,

37. The Executive Director then stated to Jones in part: “Why did you take the
pictures?”

38. Jones warned the Executive Director that if she would report LCC's medication
errors, resident neglect, and resident abuse to Life Care Centers of America’s corporate office
and Florida's Agency For Healthcare Administration (“AHCA”) officials.

39. After Jones had revealed the existence of the telling photographs to the
Executive Director and threatened to take further steps to report LCCJ’s negligent medical care
and dangerous working environment, the Executive Director in concert with McGruder, set in
motion their plan to “silence” Jones and they sought pretext reasons to terminate her
employment.

40. LCCJ’s management never provided Jones with any feedback regarding her

patient safety/neglect complaint(s).

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THE CDC’s COVID 19, POLICIES, RULES AND REGULATIONS RECOMMEND
N95 RESPIRATORS AND SURGICAL MASKS IN HEALTHCARE SETTINGS
Al. Healthcare workers such as nurses, doctors, and technicians are at heightened
risk of contracting COVID-19. According to a recent report from the CDC, more than 9,000
healthcare workers in the United States have contracted COVID-19,
42. AN95 respirator mask is a respiratory protective device designed to achieve a

very close facial fit and very efficient filtration of airborne particles.

 

illustration A -— N95 Respirator Recommended By The CDC For Healthcare Workers

43, N95 respirator masks have been approved by the National Institute for
Occupational Safety and Health (NIOSH) to block the inhalation of 95% percent of small
airborne particles.

44, The CDC recommend that all direct health caregivers wear N95 respirator masks

and surgical masks in the COVID-19 pandemic in order to protect themselves and the health of

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patients/residents. See Exhibit A, The U.S. Food and Drug Administration (“USDA’), Centers
for Disease Control and Prevention (CDC) National Institute for Occupational Safety and
Health (NIOSH) and Occupational Safety and Health Administration (OSHA) (See
hitps://www.fda. gov/nedical-devices/personal-protective-equipment-infection-controln95
respirators-and-surgical-masks-face-masks),

LCCJ’S LEGAL DUTY TO PROTECT THE HEALTH, SAFEY AND WELFARE OF
ITS EMPLOYEES AND RESIDENTS IN THE COVID-19 PANDAMIC

45. The CDC and USFDA policies, rules and regulations require that healthcare
workers, including Jones, use N95 respirator masks when providing healthcare services and
medical treatments [and] if N95 respirator mask are unavailable, at a minimum, healthcare
workers are required to use approved surgical masks in this ever evolving COVID-19 pandemic.

A6. At all times material and at the present time, it was, and remains the
responsibility of LCCJ to provide the proper Personal Protective Equipment (“PPE”), including
N95 respirator mask/approved surgical masks to LCCJ’s healthcare staff and CNAs, including
Jones.

47. Since January 2020, LCCJ had a legal duty to ensure that its nursing homes had a
COVID-19 Pandemic crisis intervention plan in place to protect the health, safety and lives of
its employees and residents.

48, During the months of February 2020-April 2020, Life Care Center of America
Inc. nursing homes all across America have experienced hundreds of deaths of employees,
residents, and has led to hundreds of first responders and policeman being quarantined (See
“Nursing Home Linked To Dozens Of COVID-19 Deaths”; www.npr.org/sections/coronavirus-

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live; www.enn.com/2020/03/08/politics/coronavirus-washington-nursing-home-life-care-center-kirkland-
enntv/index.himl; Kansas Health Officials Confirm Another Life Care Center Coronavirus
Outbreak” www.kansascity.com/news/coronavirus/article241625906.html),

49. In early March 2020 Jones, and other LCCJ employees learned that COVID-19
was causing a high infection rate and alarming deaths of residents, employees first responders
and firemen in Life Care Centers of America, Inc.’s nursing home facilities across America.

50. Jones and other direct health care employees became increasingly fearful of
becoming infected with COVID-19 [and/or] transmitting the COVID-19 virus to LCCJs elderly,
sick and infirmed residents because of LCCJs failure to provide them with the proper PPE, in
particular, the N95 masks.

LCCJ “DID NOT” CONDUCT COVID-19 PANDEMIC TRAINING, PLANNING AND
TESTING OF ITS EMPLOYEES OR RESIDENTS

51. Based upon information and belief, during the time period January -April 2020
one or more residents that lived in LCCJ’s facilities have tested positive for COVID-19 [and/or]
had been exposed to COVID-19 before being admitted as a LCC] resident,

52. Based upon information and belief, LCCJ recently hired new employee(s) from
other nursing home that had reported cases of COVID-19; but LCCJ did not require that the
newly hired employees take COVID-19 tests and LCC] did not warn its current employees
about possible COVID-19 exposure,

53. CDC's applicable COVID-19 regulations, rules and guidance required that LCCJ

implement an intervention plan and training plan for its employees; thus at all material times

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and during the acts alleged herein, LCCJ had a legal duty to conform its operation in accordance
with CDC guidelines, rules and regulations.

54. At all material times, LCCJ did not require that its employees or residents take
COVID-19 tests.

55. Despite the CDD’s COVID-19 guidelines and the COVID-19 infections that
were causing the deaths of Life Care Center of America, Inc’s residents, employees, first
responders and policeman, LCCJ did not require COVID-19 testing of Jones or any of its
employees as a condition of their continued employment with LCC.

LCCJ COMPROMISED EMPLOYEE/RESIDENT’S HEALTH AND SAFETY

56. Based upon information and belief, during the relevant time period, LCCJ
“knowingly” received and admitted patients/residents that were being discharged from
Memorial Hospital, Jacksonville, Florida— a local hospital that had documented and reported
cases of COVID-19,

57. Based upon information and belief, one or more residents in LCCJ’s facilities
where Jones worked have recently tested positive for COVID-19, or they have had the COVID-
19 exposure.

58, On about March 11, 2020, LCCI advised Jones and other LCCJ employees, that
it was mandatory that they take a body temperature test before entering the LCCJ facility.

a9; In March 2020, LCCJ’s management changed the keypad locks/combination on

LCCJ’s medical supply room and facilities.

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60. Based upon information and belief, at all material times, LCCJ was stockpiling
and hoarding N95 respirator masks and surgical masks in LCC]J’s facility storage room(s) and
supply inventory.

61. McGruder admitted to LCCJ’s CNAs that LCC] had N95 masks in storage that
were being “saved”; during the time that Jones and other CNAs were being denied PPE suitable
protective face masks.

62. Rather than issue its direct caregivers, including Jones, the approved PPE and
masks that were in LCCJ’s supply inventory, LCCJ’s management provided Jones and LCC]’s
other direct care staff only “cloth scarfs” during their working hours.

MCGRUDER’S TRANSPORTION OF DIRTY-COMPROMISED CLOTH SCAREFS

63. Jones and other CNA’s were instructed to use LCCJ’s “used” cloth scarfs when
providing direct medical care and services to residents.

64, Jones refused to wear LCCJ’s’ “used”, unsanitary cloth masks that had been
laying out and openly exposed on a common table.

65. | When Jones complained to McGruder about the uncleanliness of LCCI’s cloth-
masks, McGruder informed Jones that she (McGruder) was taking LCCJ’s soiled cloth masks
home and washing them in her personal home washing machine.

66. Jones complained to McGruder that it was extremely unsanitary and unsafe for
her (McGruder) to transport LCCJ’s used, dirty cloth face masks home back and forth between

the LCC] facility and her home.

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JONES OPPOSED LCCJ’S FAILURE TO PROVIDE N95/SURGICAL MASKS

67. In early April 2020, Jones continued to remind McGruder and other LCC]
management officials of the COVID-19 deaths that were occurring in the Life Care Centers of
America, Inc.’s nursing homes.

68. Jones repeatedly advised McGruder and LCCJ’s Unit Manager(s) that she and
members of her household/immediate family members were in the COVID-19 high risk
categories.

69. Jones re-iterated to McGruder that she and other CNAs greatly feared being
exposed to COVID-19 because they were providing “hands on”, direct care medical services to
COVID-19 residents without having the required N95 mask or at a minimum, approved surgical
masks that LCCJ’s management was hoarding.

70. Jones complained that LCCJ’s reluctance to issue her the available PPE that was
being maintained in LCCJ’s supply inventory crippled her ability to safely perform her job
functions and jeopardized the health of LCCJ’s employees, residents and the family members of
residents.

JONES’ REPEATED COMPLAINTS RELATED TO COVID-19 EXPOSURE

71. When Jones reported back to work on April 23, 2020, one of LCCI’s office
secretary(s) gave Jones a COVID-19 temperature test and recorded her body temperature before
Jones started her work shift.

72. LCCJ’s office secretary advised Jones that her body temperature was “just fine”

and she authorized Jones to enter into the LCC facilities.

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73. At no time did LCCJ or McGruder or Graham allege that Jones had a “higher
than normal” body temperature rating.

74. McGruder and Graham refused to let Jones review her April 23, 2020 body
temperature reading.

75. LCCJ’s Staffing Coordinator, McGruder and ANGELA GRAHAM, LCCI's
newly hired, DON, instructed Jones to go to a local urgent care clinic and bring back a
physician note,

76. Jones asked why she was being asked to bring in a physician note, given the fact
that she had LCCJ’s COVID-19 body temperature test and she had been allowed to enter the
LCCJ facilities.

77. Jones witnessed the Executive Director being physically present in his office on
April 23, 2020,

78. Jones advised McGruder and LCCJ Staffing Coordinator, that she was being
“singled out” and she asked them to allow her to talk to the Executive Director via LLCJ’s open
door policy.

ONES COMPLAINED ABOUT UNEQUAL TREATMENT/ RACE DISCRIMINATION

   

79, On April 23, 2020, Jones continued to complain to McGruder, LCCJ’s
management that it was unsafe, and illegal for LCC] to deny her the N95 masks that had been
recommended by the CDC’s regulations for healthcare workers in the COVID-19 pandemic.

80, Jones also reminded McGruder that LCCJ’s management needed to ensure that
LCCI’s residents receive proper medical care and eat their meals so that they could sustain

themselves in the COVID-19 pandemic.
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81. Jones also confronted McGruder about her (McGruder’s) failure to wear
protective masks during the time that she was interrogating her and working around residents.
82. Jones complained to told McGruder that she felt that she was being, “singled

a? ae

out”, “retaliated against”, and treated unequally in comparison to the work attendance of her
similarly situated Caucasian co-worker named Brooke (CNA comparator).

83. Rather than allow Jones to start her schedule work shift, McGruder instructed

Jones that she had to wait in LCCJ’s lobby area.

*S UNLAWFUL RETALIATION AND WRONGFUL JOB TERMINATION

   

84. While waiting to meet with the Executive Director, ANGELA GRAHAM,
LCCJ’s newly hired DON (“Graham”) met with Jones and interrogated about her obsolete, past
work attendance and an alleged “call outs” from work that had occurred in the calendar year
2019.

85. | Although Graham had not supervised or worked with Jones, McGruder and the
Executive Director used Graham to effectuate their clandestine plan to “silence” Jones and
terminate her employment.

86. The Executive Director ignored LCCJ’s “employee open door policy” and he
refused to meet with Jones on April 23, 2020 to discuss her concerns regarding LCCI’s failure
to protect its employees, residents and family members from COVID-19.

87. Graham advised that Jones that her employment, was terminated effective April
23, 2020 for her alleged work attendance work issues and for an alleged” no call” to work that

had allegedly (emphasis supplied) occurred in the calendar year 2019.
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88. Jones refused to sign LCCJ’s false job termination letter.

89. Based on information and belief, prior to terminating Jones’ employment
(emphasis supplied), LCCJ failed to ensure that it had a COVID-19 pandemic crisis and a
COVID-19 testing plan in effect in accordance with CDC guidelines, rules and regulations.

90. Based upon information and belief, and during the acts alleged herein, LCCJ
violated acceptable Medicare standards, medical laws and nursing home resident care
regulations regarding its delivery of medical care and medical treatment to residents.

91, Based on information and belief, during the relevant time period, LCC]
McGruder or Graham in particular, did not instruct/force any other CNA or LCC] employee to
pay out of pocket for urgent care/emergency medical room COVID-19 testing record before
beginning their scheduled work shifts.

92. LCCIJ’s actions, misfeasance and negligence as alleged herein, demonstrate a
willful indifference and callous disregard for Jones, employment rights and the health, safety
lives, and welfare of LCCL residents, their family members and LCCJ employees,

93. | LCCJ is vicariously liable for the malicious acts, unlawful retaliation, unequal
treatment, negligence and misfeasance of its managers, employees and agents, as alleged herein,

under the respondent superior doctrine.

 

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COUNT I
UNLAWFUL EMPLOYMENT RETALIATION FOR OPPOSING
FAILURE TO PROVIDE PERSONAL PROCTEVIVE EQUIPMENT NEEDED
TO PROTECT THE LIVES OF RESIDENTS, FAMILY MEMBERS AND EMPLOYEES
FLORIDA WHISTLEBLOWER PROTECTION ACT
FLORIDA STATUTE § 448,102 (3)

94, Jones hereby incorporates by reference as though restated each of the factual
allegations 1-93, and paragraphs 41-93 with respect to Count I.

95. Jones engaged in protected employment speech activities within the meaning
of the Centers For Disease Control (CDC) and United States Food and Drug Administration
(US FDA) guidelines, rules and regulations that pertain to nursing home safety, training and
procedure in the COVID-19 pandemic and her manner of opposition to LCCJ’s failure to
comply with CDC and USFDA laws, rules and regulations were reasonable during the
COVID-19 pandemic were reasonable and made by her in “good faith”.

96. A close temporal proximity in time exists between Jones’s opposition to LCCI’s
violation of CDC and USFDA’s COVID-19 rules, regulations and guidelines as alleged herein,
and LCCJ’s decision to terminate Jones’ employment.

97. Asa result of LCC]’s unlawful retaliation and adverse employment action(s),
Jones has suffered injuries and damages, including but not limited to, loss of income, benefits
and other economic losses, emotional pain and suffering, and other intangible injuries for all of
which she is entitled to receive damages.

98. WHEREFORE, Jones seeks an award of damages against LCCJ, for

compensatory damages, attorney’s fees, costs, and expenses under the anti-retaliation provisions

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of Florida Statute, §448.102 (3) and Chapter §448.104 in an amount, together with prejudgment

interest and such other relief as justice so requires under the circumstances.

COUNT II
UNLAWFUL EMPLOYMENT RETALIATION FOR OPPOSING
PATIENT/RESIDENT NEGLECT AND PATIENT SAFETY VIOLATIONS
FLORIDA WHISTLEBLOWER PROTECTION ACT
FLORIDA STATUTE § 448.102 (3)

99, Jones hereby incorporates by reference as though restated each of the factual
allegations 1- 93, and, paragraphs 32 (A-J) -38, 64-68, 74-93 with respect to Count II,

LO0. Florida Resident Bill of Rights, Florida Statute, Section 429.28 states in
pertinent part that at para (a) and (j) that residents in assisted living facilities have the right

to: “Live in a safe and decent living environment, free from abuse and neglect”.

LOL. Jones engaged in protected employment speech activities within the meaning of
the Florida’s Patient Bill of Rights and Florida’s Resident Bill of Rights when she complained
about and objected to LCCI’s patient neglect, patient safety violations and LCCJ’s failure to
provide timely and proper medical treatment as alleged, in particular paragraphs 32 (A-J)-38,

64-68 and 74-93,

102. Jones’ complaints and her manner of opposition to LCCJ’s failure to comply
with the Florida Patient Bill of Rights, Florida Resident Bill of Rights, and other applicable

laws related to patient/resident safety neglect were reasonable and made by her in “good faith”.

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103. A close temporal proximity in time exists between Jones’s opposition to LCCJ’s
patient/resident safety neglect and patient/resident safety violations as alleged herein, in
particular paragraph 32(A-J) and LCC]’s decision to terminate Jones’ employment.

104. LCCYJ’s corporate officials’ decision to terminate the employment of Jones as
alleged herein were retaliatory and adverse in nature.

105. As a result of LCCIJ’s unlawful retaliation and adverse employment action(s),
Jones has suffered injuries and damages, including but not limited to, loss of income, benefits
and other economic losses, emotional pain and suffering, and other intangible injuries for all of
which she is entitled to receive damages.

106. WHEREFORE, Jones seeks an award of damages against LCCJ, for
compensatory damages, attorneys fees, costs, and expenses under the anti-retaliation provisions
of Florida Statute, §448.102 (3) and Chapter §448.104 in an amount, together with prejudgment

interest and such other relief as justice so requires under the circumstances,

COUNT III

 

107. The allegations contained in paragraphs 1-93 and in particular, paragraphs 79-93
are hereby incorporated by reference with respect to Count III.

108. Jones had the right to keep her LCCJ employment and contractual relationship
with LCC] after she reported and opposed the unequal discipline and race-based discrimination
that she was experiencing.

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109. Jones’ opposition to LCCJ’s race-based discrimination was reasonable and made
in good faith.

110. After Jones engaged in protected employment speech activities as alleged herein,
LCCJ unlawfully retaliated against Jones and subjected her to adverse employment actions,
including but not limited to its decision to terminate and Jones’ employment contract without
giving her due process.

Il!. There exists a close proximity in time and a causal link between Jones’
opposition to LCCJ’s discriminatory employment practices, and LCCJ’s decision to terminate
her employment.

112. As a direct and proximate result of LCCJ’s unlawful retaliation, Jones has
suffered damages including, loss of income, loss of future income, loss of her personal dignity,
emotional distress, attorneys’ fees, costs, expenses and other consequential damages not capable
of being ascertained at the present time.

113. WHEREFORE, Jones seeks damages against LCC) under the anti-retaliation
provisions of Section 1981, plus reasonable attorneys’ fees, costs, expenses, pre-judgment and
post judgment interest, and such other relief as the Court deems and as justice so requires under

the circumstances,

RESERVATION OF RIGHTS

114. Jones reserves her rights to amend the instant Complaint and Demand for Jury

Trial and her right to file additional claims against LCCJ,

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PRAYER FOR RELIEF AND DAMAGES

115. WHEREFORE, Jones seeks an award of, compensatory and punitive damages

against LCC) as follows:

A. An award to Jones for compensatory damages, attorneys’ fees, costs and
expenses under the provisions of the Florida Whistle Blower Protection Act Florida Statute,
§448.102 (3) and Chapter §448.104;

B. An award to Jones for compensatory damages, attorneys’ fees, costs, and

expenses under the anti-retaliation provisions of Section 1981;

C. Grant Jones a Jury Trial under the provisions if Section 1981.

D. Grant Jones the applicable interest on any awards allowed by law; and grant
Jones;

E. Grant Jones such other and further relief as the Court deems just and appropriate

under the circumstances.
DATED: May 6, 2020. Respectfully submitted:

THE JONES LAW FIRM, P.A.

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CERTIFICATE OF SERVICE

This is to certify that on this 6™ day of May 2020, the forgoing, Plaintiff Lula Jones
Complaint and Jury Demand was electronically filed on the CM/ECF, United States District
Court, Middle District of Florida's (Jacksonville Division) E-Portal:

s/ J. Eric Jones
Attorney

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